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  From: James Scutti
  Sent: Thursday, October 22, 2020 6:46 PM
  To: Lasher, Lisa <Lisa.Lasher@finra.org>
  Subject: Case No. 19-02053, Schottenstein vs. J.P, Morgan Securities, et al.,

  EXTERNAL: Verify sender before opening attachments or links.

  Lisa,

  On December 19, 2002, an award was entered in Kim Nelson vs. Janney Montgomery Scott, el., a New
  York Stock Exchange arbitration, NYSE Docket No. 2001-009-123. I represented Claimant. We retained
  Harvey Norwich, a handwriting expert who testified at the hearing on the merits.

  Near the close of the hearing today Mr. IIgenfritz said that Mr. Norwich was their handwriting expert. I
  received the Arbitrator's Case Packet via the Portal on October 15. I reviewed all of the documents in
  the packet at that time. CLAIMANT'S EXHIBIT LIST AND WITNESS LIST WAS NOT IN THE PACKET. I have
  searched diligently for it and am unable to find it.

  I was not able to find the Award on Arbitration Awards Online.

  In any event, I do not think that this disclosure poses a conflict of interest because the arbitration
  occurred almost eighteen years ago and the failure to disclose earlier was not my fault.
